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5
     Attorney for Defendant
6    MICHAEL MUNOZ
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9                           IN THE UNITED STATED DISTRICT COURT

10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                       )   Case No.: 1:11-cr-0026 LJO
                                                     )
13                  Plaintiff,                       )   STIPULATION TO CONTINUE
                                                     )   DATE FOR SENTENCING
14          vs.                                      )
                                                     )   Date: April 7, 2014
15   MICHAEL MUNOZ,                                  )   Time: 8:30 am
                                                     )   Honorable Lawrence J. O’Neill
16                  Defendant.                       )
17          It is hereby stipulated by and between the parties hereto, through their attorneys of record
18   as follows:
19          The sentencing hearing in this matter is currently set for April 7, 2014 at 8:30 am. It is
20   respectfully stipulated and requested that the sentencing hearing be continued until May 5, 2014
21   at 8:30 am. The reason for the continuance is to allow defense counsel additional time to
22   research sentencing issues and prepare his presentation to the court regarding the defendant’s
23   sentencing.
24   Dated: March 26, 2014
                                                           /s/ Carl M. Faller_____
25
                                                           CARL M. FALLER
26                                                         Attorney for Defendant
                                                           MICHAEL MUNOZ
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              Case 1:11-cr-00026-LJO Document 403 Filed 03/27/14 Page 2 of 3



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2                                                         BENJAMIN B. WAGNER
                                                          United States Attorney
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4                                                     By: /s/ Kirk E. Sherriff____
                                                          KIRK E. SHERRIFF
5
                                                          Assistant U.S. Attorney
6
            ORDER:
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            Based upon the stipulation of the parties and good cause appearing, it is hereby
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     ORDERED that the defendant’s sentencing hearing currently set for April 7, 2014 at 8:30
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10   am, be continued until May 5, 2014 at 8:30 am.
     .
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12   IT IS SO ORDERED.

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        Dated:    March 27, 2014                            /s/ Lawrence J. O’Neill
14                                                     UNITED STATES DISTRICT JUDGE

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